914 F.2d 248Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Frederick JONES, Petitioner-Appellant,v.Gary T. DIXON, Lacy H. THORNBURG, Attorney General of theState of North Carolina, Respondents-Appellees.
    No. 89-6309.
    United States Court of Appeals, Fourth Circuit.
    Submitted July 26, 1990.Decided Sept. 17, 1990.Rehearing Denied Oct. 9, 1990.
    
      Appeal from the United States District Court for the Eastern District of North Carolina, at New Bern.  John D. Larkins, Jr., Senior District Judge.  (CA-88-966-HC)
      Frederick Jones, appellant pro se.
      Clarence Joe DelForge, III, Office of the Attorney General of North Carolina, Raleigh, N.C., for appellees.
      E.D.N.C.
      DISMISSED.
      Before CHAPMAN and WILKINSON, Circuit Judges, and BUTZNER, Senior Circuit Judge.
      PER CURIAM:
    
    
      1
      Frederick Jones seeks to appeal the district court's order refusing habeas corpus relief pursuant to 28 U.S.C. Sec. 2254.  Our review of the record and the district court's opinion accepting the recommendation of the magistrate discloses that this appeal is without merit.  Accordingly, we deny a certificate of probable cause to appeal and dismiss the appeal on the reasoning of the district court.  Jones v. Dixon, CA-88-966-HC (E.D.N.C. Sept. 26, 1989).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    
      2
      DISMISSED.
    
    